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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF LOUISIANA
                                SHREVEPORT DIVISION

 UNITED STATES OF AMERICA                             CRIMINAL ACTION NO. 04-50134-02

 VERSUS                                               JUDGE S. MAURICE HICKS, JR.

 FELICIA SMITH                                        MAGISTRATE JUDGE HORNSBY

                                   MEMORANDUM ORDER

         Before the Court is Petitioner Felicia Smith’s (“Smith”) “Minor-role Amendment

 Reduction 3B1.1 (sic).” (Record Document 357). Smith seeks reduction of her sentence

 based upon the application of the recent amendments to § 3B1.2 of the United States

 Sentencing Commission Guidelines. See id. at 1. She contends that the amendments are

 retroactive, and should therefore be applied to reduce her sentence to avoid “miscarriage

 of justice.” Id. at 2.

         “Amendment 794 left the text of § 3B1.2 unchanged but made various revisions to

 the commentary.” U.S. v. Gomez-Valle, No. 15-41115, 2016 WL 3615688, at *3 (5th Cir.

 July 5, 2016). In Gomez-Valle, the Fifth Circuit addressed Amendment 794:

                 Whether Amendment 794 is substantive or clarifying is a matter of first
         impression in this circuit. The Ninth Circuit has held in a published opinion
         that Amendment 794 is clarifying and retroactive to cases on direct appeal.
         In an unpublished opinion, the Eleventh Circuit considered the
         non-exhaustive factors added by Amendment 794 to a sentence imposed
         prior to the Amendment’s effective date, noting briefly that it “consider[s]
         clarifying amendments retroactively on appeal regardless of the date of
         sentencing.” In a recent opinion, the First Circuit declined to reach the issue,
         noting that the changes effected by Amendment 794 provided no benefit to
         the defendant.

               We conclude that it is unnecessary to resolve whether Amendment
         794 was a substantive change or instead only clarifying because even if it
         were applied retroactively, it would not affect Gomez-Valle’s sentence.

 Id. at *5.
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         The Court need not address the merits of the motion because it is not properly

 before the Court. While the Fifth Circuit did not resolve whether Amendment 794 should

 be applied retroactively in direct appeals, the record establishes that Smith’s direct appeal

 became final almost a decade ago. See United States v. German, 486 F.3d 849 (5th Cir.

 2007), cert. denied Smith v. United States, 552 U.S. 1043 (2007).

         28 U.S.C. § 2255 also provides a method of collaterally attacking a sentence

 imposed by a federal court. However, Smith has already sought federal habeas corpus

 relief under § 2255, which this Court denied. (Record Documents 294 and 295). Both this

 Court and the Fifth Circuit denied her request for a Certificate of Appealability. (Record

 Documents 295 and 313). A second chance at federal habeas corpus relief under § 2255

 is only available after obtaining a certification from a panel of the Fifth Circuit Court of

 Appeals allowing such a motion to be filed. See 28 U.S.C. § 2255(h). As Smith has not yet

 done so, the Court cannot consider this motion.

         For these reasons, Smith’s request for a reduction of her sentence must be

 DENIED.

         IT IS SO ORDERED.

         THUS DONE AND SIGNED, in Shreveport, Louisiana, this 12th day of September,

 2016.




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